Case 21-12926-amc        Doc 128     Filed 12/15/22 Entered 12/15/22 11:01:33          Desc Main
                                    Document      Page 1 of 1



                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE EASTERN
                                 DISTRICT OF PENNSYLVANIA

 In Re: GABRIEL BRAVO,                                    :   CHAPTER 13
                 Debtor                                   : BANKRUPTCY NO. 21-12926


     APPELLANT'S DESIGNATION OF ISSUES TO BE PRESENTED ON APPEAL

                GABRIEL BRAVO (“the Appellant”) now comes and designates the following

        issues to be presented by him in this matter on appeal:

            1. Whether the bankruptcy court correctly determined that res judicata barred the
 Debtor from arguing that the court should consider or credit the payments that the Debtor made
 to the creditor during two prior bankruptcy cases.


            2. Whether the failure to credit payments made to the creditor by the Debtor during
 the two prior bankruptcy cases constituted such improper and fraudulent conduct that res judicata
 should not have been applied in favor of the creditor.




                                                      ________________________________


                                                      /s/ DAVID A. SCHOLL
                                                      512 Hoffman Street
                                                      Philadelphia, PA 19148
                                                      610-550-1765
                                                      Attorney for Debtor/Appellant
